                                                                                             12/18/2020 3:33 PM
                                                                                                               Velva L. Price
                                                                                                              District Clerk
                                                                                                              Travis County
                                                    CAUSE NO. D-1-GN-20-000078                             D-1-GN-20-000078
                                                                                                           Alexus Rodriguez
             WILLIAM MCGUIRE,                                      §             IN THE DISTRICT COURT
                  Plaintiff,                                       §
                                                                   §
             v.                                                    §              TRAVIS COUNTY, TEXAS
                                                                   §
             ANTHONY LAUGHLIN,                                     §
                 Defendant.                                        §              98th JUDICIAL DISTRICT

                                  SUGGESTION OF DEATH OF ANTHONY LAUGHLIN

             TO THE HONORABLE COURT:

                      Counsel for Anthony Laughlin, informs this Court that Defendant Anthony Laughlin, has

             died on October 30, 2020. A certified copy of Mr. Laughlin’s Certificate of Death, which was issued

             December 1, 2020, is attached as Exhibit A and is incorporated by reference.


                                                                   Respectfully submitted,

                                                                   /s/ Adrian Resendez
                                                                   Adrian M. Resendez
                                                                   Texas Bar No. 24088845
                                                                   Brough & Resendez, PLLC
                                                                   1213 W. Slaughter Ln., Ste. 100
                                                                   Austin, TX, 78748
                                                                   Telephone: 512-792-9610
                                                                   adrian@bandrlaw.com

                                                                   -and-
                                                                   Shane D. Neldner
                                                                   Texas Bar No. 24062435
                                                                   Of Counsel
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                                                                   Austin, TX, 78748
                                                                   512-650-0936 (phone)
                                                                   shane@neldnerlaw.com

                                                                   ATTORNEYS FOR ANTHONY
                                                                   LAUGHLIN




             Suggestion of Death of Anthony Laughlin, p. 1.




Copy from re:SearchTX
                                                     CERTIFICATE OF SERVICE

                      This is to certify that a true and correct copy of the foregoing Suggestion of Death of Anthony Laughlin

             has been sent to all counsel of record on December 18, 2020, as indicated below:

             THE J. L. WATSON LAW FIRM, P.C.
             J. Lynn Watson
             State Bar No. 20761510
             9442 N. Capital of Texas Highway
             Arboretum Plaza 1; Suite 500
             Austin, Texas 78759
             Telephone: (512) 343-4526
             Telecopier: (512) 582-2953
             email: lwatson@jlw-law.com

             and

             Richard S. Hoffman
             State Bar No. 09787200
             LAW OFFICE OF RICHARD S. HOFFMAN
             Congress Square II
             611 S. Congress, Suite 210
             Austin, TX 78704
             Telephone number: (512) 322-9800
             email: rhoff88302@aol.com

             ATTORNEYS FOR PLAINTIFF




             Suggestion of Death of Anthony Laughlin, p. 2.




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                                 Automated Certificate of eService
        This automated certificate of service was created by the efiling system.
        The filer served this document via email generated by the efiling system
        on the date and to the persons listed below. The rules governing
        certificates of service have not changed. Filers must still provide a
        certificate of service that complies with all applicable rules.

        Katherine Gallagher on behalf of Katherine Gallagher
        Bar No. 24118810
        katie@bandrlaw.com
        Envelope ID: 49100807
        Status as of 12/23/2020 9:32 AM CST

        Associated Case Party: William McGuire

         Name              BarNumber Email                TimestampSubmitted      Status

         J Lynn Watson               lwatson@jlw-law.com 12/18/2020 3:33:36 PM    SENT

         Richard Hoffman             rhoff88302@aol.com   12/18/2020 3:33:36 PM   SENT




Copy from re:SearchTX
     EXHIBIT A
CERTIFICATE OF DEATH
     EXHIBIT B
LETTERS TESTAMENTARY
                     IN THE CIRCUIT COURT OF THE STATE OF OREGON
                             FORTHE COUNTY OF DESCHUTES

In the Matter of the Estate of:                   Case No:   zoPBo8zr3

Anthony C Laughlin,                               LETTERS TESTAMENTARY

                                     Deceased.



THIS CERTIFIES that the will of Anthony C Laughlin, deceased, has been proved and Geoffrey
Chackel has been and is at the date hereof the duly appointed, qualified and acting Personal
Representative of the will and estate of the decedent.


                                                              JEFFREYE. HALL
                                                              TRIAL COURT     ADMINISTRATOR
                                                                       1112412020 0a:27
                                                                     Signed:          AM




                                                      By       /*t-a
                                                                  Probate Gommlasionor Pam Gump




I certify that the Letters Testamentary in this case are still in full force and effect and have not
been revoked or set aside. I certify that this is a true, complete and accurate copy of the original
Letters Testamentary filed in this case.

                                                              JEFFREY E. HALL
                                                              TRIAL COURT ADMINISTRATOR


                                                      By
                                                                                              Clerk
